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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                                  CASE NUMBER:


SETH SHAPIRO                                         2:19−cv−08972−CAS−FFM
                                   PLAINTIFF(S)

      v.
AT&T MOBILITY LLC

                                                      NOTICE TO FILER OF DEFICIENCIES IN
                                 DEFENDANT(S).
                                                      REQUEST FOR ISSUANCE OF SUMMONS




PLEASE TAKE NOTICE:
The following problem(s) have been found with your electronically filed document:
   10/17/2019              4               Request for Summons
Date Filed           Doc. No.     Title of Doc.
ERROR(S) WITH DOCUMENT:

The caption of the summons must match the caption of the complaint verbatim. If the caption
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attached.” Next, attach a face page of the complaint or a second page addendum to the
Summons.




Other Error(s):
The summons cannot be issued until this defect has been corrected. Please correct the defect
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                                                  Clerk, U.S. District Court

                                                  By: /s/ Jeannine Tillman
Date: October 21, 2019                            jeannine_tillman@cacd.uscourts.gov
                                                     Deputy Clerk




      − NOTICE TO FILER OF DEFICIENCIES IN REQUEST FOR ISSUANCE OF SUMMONS −
Case 2:19-cv-08972-CBM-FFM
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                                           www.cacd.uscourts.gov  Local Rules, Page
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                                                                                                 applicable forms.




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